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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

ERIC LAMONT MANNING                                                                     PLAINTIFF

vs.                                  Civil No. 1:21-cv-01048

COMMISSIONER,
SOCIAL SECURITY ADMINISTRATION                                                       DEFENDANT

                                             ORDER

       Plaintiff has filed a complaint in this matter together with a request for leave to proceed in

forma pauperis.    After review, it is found that Plaintiff is unable to pay for the costs of

commencement of suit, and, accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to Proceed in forma pauperis

is GRANTED. The Court directs that a copy of the complaint filed herein, along with a copy of this

order, be served by Plaintiff by certified mail, return receipt requested, on the Commissioner of the

Social Security Administration, the U.S. Attorney General, and the U.S. Attorney’s Office without

prepayment of fees and costs or security therefor. Defendant is ordered to answer within sixty (60)

days from the date of service.

       IT IS SO ORDERED THIS 12TH DAY OF OCTOBER 2021.


                                                      /s/Barry A. Bryant
                                                      HON. B7ARRY A. BRYANT
                                                      UNITED STATES MAGISTRATE JUDGE
